Case 1:16-cv-07552-JGK-OTW Document 174 Filed 06/04/18 Page 1 of 37




 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
                                                        X
 DANIEL RIVERA,
                                                            Case   No.:   16   CY 7552
                               Plaintiff,
                                                            NOTICE OF APPLICATION
                -against-                                   FOR COSTS SOUGHT
                                                            AGAINST THIRD PARTY
                                                            DE,F'ENDANT
 HOME DEPOT U.S.A., INC.,

                               Defendant.
                                                        X
 HOME DEPOT U.S.A., [NC.,

                               Third-Party Plaintiff,

                -against

 BRYAN'S HOME IMPROVEMENT CORP.,

                              Third-Party Defendant.    :

                                                        X


               PLEASE TAKE NOTICE that, upon defendant/third-party plaintiff Home

 Depot U.S.A., Inc.'s ("Home Depot")    Bill of Costs, the Declaration of Arturo M. Boutin,   dated

 June 4, 2018, and the exhibits annexed thereto, and all other pleadings and proceedings herein,

 Home Depot   will move this Court before the Judgment Clerk at the United         States Courthouse

 for the Southern District of New York, located at 500 Pearl Street, New York, New York

 10007, on June 20th,2018 at 1l:30 a.m., or as soon thereafter as counsel may be heard, at a

time and date to be determined as convenient by the Court, for an Order pursuant to Rule 54      of
the Federal Rules of Civil Procedure, Local Civil Rule 54.I,and 28 U.S.C. $$ 1920 and1923
Case 1:16-cv-07552-JGK-OTW Document 174 Filed 06/04/18 Page 2 of 37




 granting fees and costs sought by the Home Depot and granting such other relief that this Court

 deems proper.

 Dated           New York, New York
                 June 4, 2018

                                                       D'AMATO & LYNCH, LLP



                                                 By:
                                                             M. Boutin, Esq.
                                                       ABoutin@Damato-Lynch.com
                                                       Attorneys   for Defendant/Thir   d-P   arty
                                                       Plaintiff
                                                       HOME DEPOT U,S.A,, INC,
                                                       225 Liberty Street
                                                       New York, New York 10281
                                                       (2t2) 909-2028
                                                       Our File No.: 930-83092


 TO:     VIA ECF
         GINARTE GALLARDO GONZALEZ WINOGRAD LLP
         Attorneys   for   PI   aintiff
         DANIEL RIVERA
         225 Broadway, I3th Floor
         New York, New York 10007-3772
         (2r2) 60r-9700

         CONNORS & CONNORS, P.C.
         Attorneys for Thir d-P arty D efendant
         BRYAN'S HOME IMPROVEMENT CORP,
         766 Castleton Avenue
         Staten Island, New York 10310
         (718) 442-1700

         HERZFELD & RUBIN
         Attorneys for Third Party Defendant
         BRYAN'S HOME IMPROVEMENT CORP
         125 Broad Street
         New York, New York, 10004
         (212) 47r-8s00


                                              -2-
Case 1:16-cv-07552-JGK-OTW Document 174 Filed 06/04/18 Page 3 of 37




 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
                                                                X
 DANIEL zuVERA,
                                                                    Case   No.:   16   CV 7552
                                  Plaintiff,
                                                                    DECLARATION OF
                 -against-                                          ARTURO M. BOUTIN
                                                                    IN SUPPORT OF DEFENDANT'S/
                                                                    THIRD-PARTY PLAINTIFF'S
 HOME DEPOT U.S.A., INC.,                                           APPLICATION FOR COSTS
                                                                    AGAINST PLAINTIFF
                                  Defendant
                                                                X
 HOME DEPOT U.S.A., [NC.,

                                  Third-Party   P   laintiff,

                 -against-

 BRYAN'S HOME IMPROVEMENT CORP.,

                                  Third-Party Defendant.        :

                                                                X


                 ARTURO M. BOUTIN, declares pursuant to 28 U.S.C.                          S 1746 and under

 penalty of perjury that:

                 1.      I an a partner in the firm of D'Amato & Lynch, LLP, counsel for
 defendant/third-party plaintiff Home Depot U.S.A., Inc. (hereinafter referred                   to as o'Home
 Depot") in this action. As such, I am familiar with the facts and circumstances set forth herein.

                 2.      I   submit this Declaration in support of Home Depot's             Bill of Costs and

 application for an award of costs against third-party defendant Bryan's Home Improvement

 Corp. ('oBryan's"), in this action.
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                  3.        On or about September 27, 2016, plaintiff Daniel Rivera initiated this

 action by filing a Complaint in the United States District Court, Southern District of New York,

 located at 500 Pearl Street, New York, New York           10007. Plaintiff alleged Home Depot
 violated the Labor Laws of the State of New York, inter alia, that Home Depot violated $200,

 $240 and $241(b)         in connection with injuries he sustained while working for Bryan's on
 August 22,2015.

                  4.        On or about January 6,2017, Home Depot commenced a third-party

 action as against Bryan's for contractual and common law indemnification from plaintiffls

 claims against Home Depot.

                  5.        Home Depot expended significant cost and expenses to defend itself

 against   plaintifls claims, including significant discovery activities, due to Bryan's failure to

 honor its contractual and common law obligations to Home Depot.

                  6.        On April 9,2018, a jury trial commenced in the United States District

 Court for the Southern District of New York, before the Honorable Katherine B. Forrest.

                  7.        The trial concluded on April 11,2018, when the jury returned a verdict

 in favor of plaintiff.

                  8.       Thereafter, on May 4,2018, the Clerk of the Court entered Judgment in

 favor of plaintiff and against Home Depot, a copy of which is annexed hereto as Exhibit A.

                 9.        On May 4,2018 the Clerk of the Courl entered Judgment in favor of

 Home Depot and against Bryan's, a copy of which is annexed as Exhibit B.

                  10.      Home Depot now seeks an award of costs in the amount of   $7   ,773.47, as

the prevailing party in accordance with Rule 54(d)(1) of the Federal Rules of Civil Procedure



                                                   .|
                                                  'L-
Case 1:16-cv-07552-JGK-OTW Document 174 Filed 06/04/18 Page 5 of 37




 and Rule 54.1    of the Local Civil Rules of the Southern District of New York for the following

 items, As such, Home Depot attaches hereto a Bill of Costs dated June 4,2018            as   Exhibit C.

 The costs claims are correctly stated, are allowable by law, and were necessarily incurred as

 stated herein.

                  I   1.   Home Depot continues to incur significant cost, including at the Second

 Circuit level, and reserves its right to seek additional Bill of Cost in this matter.

                  12.      Home Depot submits 2 bills for the cost of the deposition of the plaintiff,

 Daniel Rivera, conducted on September 27, 2017 and September 28, 2017, that were

 necessarily obtained during discovery, and that were necessary for use at trial for, including,

 but not limited to, the cross-examination of the plaintiff, and the preparation of Home Depot's

 further arguments at the opening of the trial and at the close of evidence. As the prevailing

 party, pursuant to 28 U.S.C. $ 1928 and pursuant to Local Rule 54.1(c)(4), Home Depot is

 entitled to this cost in the amount of $687.30. A true copy of the invoices from Deitz Court

 Reporting, the court stenographer, are annexed hereto as Exhibit D.

                  13.      Home Depot additionally submits two bills           for the costs of     the

 translation services of a Spanish-speaking interpreter, whose services were necessary in order

 to translate plaintiff s testimony during the depositions on September 27, 2018 and September

 28, 2018, the translations of which were necessarily obtained during discovery, and were

 necessary   for use at trial for, including, but not limited to, the cross-examination of          the

plaintiff, and the preparation of the defendant'slthird-parly plaintifls further argument at the

 close of evidence. As the prevailing party, pursuant to 28 U.S.C. $ 1928 and pursuant to Local

Rule 54.1(c)(4), Home Depot is entitled to these costs together totaling to the amount of



                                                   -3-
Case 1:16-cv-07552-JGK-OTW Document 174 Filed 06/04/18 Page 6 of 37




 $666.00 A true copy of each of the invoices from the translation services, Eiber Translations,

 Inc. are annexed hereto as Exhibit E.

                14.     Home Depot submits a bill for the cost of the deposition of witness Jorge

 Palacios, conducted on October 10,2017, that was necessarily obtained during discovery, and

 that was necessary for use atffial for, including, but not limited to, the cross-examination of the

 plaintiff, and the preparation of the Home Depot's further arguments at the opening of the trial

 and at the close   of evidence. As the prevailing party, pursuant to 28 U.S.C. g 1928 and
 pursuant to Local Rule 54.1(c)(4), Home Depot is entitled to this cost in the amount of $303.00.

 A true copy of the invoice from Diamond Court Reporting, the courl stenographer, is annexed

 hereto as Exhibit F.

                15.     Home Depot also submits a bill for the cost of medical tests performed

 on plaintiff were necessary and material to Home Depot defense which were necessarily

 obtained during discovery, and that was necessary for use at trial for, including, but not limited

 to, the cross-examination of the plaintiff, and the preparation of the Home Depot's fuither

 arguments at the opening of the trial and at the close of evidence.. As the prevailing parly,

pursuant to 28 U.S.C. $ 1928 and pursuant to Local Rule 54.1(c)(4), Home Depot is entitled to

this cost in the amount of $105.00. A true copy of the invoice from Ironbound MRI LLC for 2

X-rays of plaintiff s spine is annexed hereto as Exhibit G.

                16.     Home Depot also submits a bill for the cost of medical services, review

of plaintiff s medical records by Richard Lechtenberg, M.D., that were necessarily        obtained,

and that were necessary for use at the motion for summary judgment and trial for, including,

but not limited to, the cross-examination of the plaintiff, the cross-examination of plaintiff    s




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Case 1:16-cv-07552-JGK-OTW Document 174 Filed 06/04/18 Page 7 of 37




 witnesses, and the preparation   of Home Depot's opening and closing arguments. As                the

prevailing party, pursuant to 28 U.S.C. $ 1928 and pursuant to Local Rule 54.1(c)(4), Home

 Depot is entitled to these costs in the amount of $1,150.00, A true copy of the invoice from Dr.

 Lechtenberg is annexed hereto as Exhibit H.

                 17.   Home Depot submits bills representing its        full   share   of the costs of
motion argument transcripts and the trial transcripts prepared for the two days of arguments for

motions for summary judgment, and for each day of the trial, which were obtained by order and

at the direction of the Court for the purposes of providing a record for review, and were used in

the preparation of, including, but not limited to, the cross-examination of plaintiff, and his

witnesses, and the preparation    of defendant's/third-party plaintiff s further argument at the

opening of the trial and at the close of evidence   attrial. As the prevailing party, pursuant to 28

U.S.C. $ 1928 and pursuant to Local Rule 54.1(c)(4),Home Depot is entitled to these costs

incuned and together totaling to the amount of $1,878.33. A true copy of each of the invoices

from the Offrcial Court Reporters are annexed hereto as Exhibit I.

                 18.   Further, Home Depot is entitled to an additional $20 pursuant to 28

u.s.c. $ 1923.

                 19.   Home Depot submits a bill for the cost of the mediation of this matter,

held on February 7, 2018, that was necessarily conducted after discovery, and that was an

attempt to resolve this matter before   trial. As the prevailing party,   pursuant to 28 U.S.C.     $


 1928 and pursuant to Local Rule 54.1(c)(4), Home Depot is entitled to this cost in the amount

of $1,767.29. A true copy of the invoice from National Arbitration and Mediation,                 the

company which provided mediation services, is annexed hereto as Exhibit J.




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Case 1:16-cv-07552-JGK-OTW Document 174 Filed 06/04/18 Page 8 of 37




                20.     Thus, the total costs incurred by Home Depot to date pursuant to Local

 Rule 54.1 in the defense of this action are $7,773.4L

                WHEREFORE,         it is respectfully    requested that the Clerk issue an Order

 granting the defendant's/third-party plaintiff s costs in the amount of $7,773.4L

 Dated:         New York, New York
                June 4,2018

                                                         D'AMATO & LYNCH, LLP



                                                  By:
                                                                   M.          Esq.
                                                          ABoutin@Damato -Lynch. com
                                                         Att orney s for D efendant/Thir d- P ar ty
                                                         Plaintiff
                                                         HOME DEPOT U.S.A,, INC.
                                                         225 Liberty Street
                                                         New York, New York 10281
                                                         (2r2) 909-2028
                                                         Our File No.: 930-83092




                                                -6-
Case 1:16-cv-07552-JGK-OTW Document 174 Filed 06/04/18 Page 9 of 37




 TO     VIA ECF
        GINARTE GALLARDO GONZALEZ WINOGRAD LLP
        A t t o r ney s fo r P I ai nt iff
        DANIEL RIVEM
        225 Broadway, 13th Floor
        New York, New York 10007-3772
        (212) 60t-9700

        CONNORS & CONNORS, P.C.
        Attorneys for Third-P arty Defendant
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        Staten Island, New York 10310
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        HERZFELD & RUBIN
        Attorneysfor Third Party Defendant
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        New York, New York, 10004
        (2r2) 47r-8s00




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Case 1:16-cv-07552-JGK-OTW Document 174 Filed 06/04/18 Page 10 of 37




               EXHIBIT A
    Case 1:16-cv-07552-JGK-OTW Document 174 Filed 06/04/18 Page 11 of 37
          Case 1:16-cv-07552-KBF Document 151 Filed 05/04/18 Page 1 of 2


                                                             USDC SDNY
UNITED STATES DISTRICT COURT                                 DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                ELECTRONICALLY FILED
                                                        .X   DOC #:
    DANIEL RIVERA,                                           DATE FILED: May 4,2018
                                        Plaintiff,

                       v

    HOME DEPOT U.S.A. INC.,                                          L6-cv-7552 (KBF)
       Defendant and Third-Party Plaintiff,
                                                                       JUDGMENT

                      -v

    BRYAN'S HOME IMPROVEMENT CORP.,
                   Third-Party Defendant.
                                                        X
KATHERINE B. FORREST, District Judge:

        This action having been commenced September 27,2016 by the filing of the

Complaint (ECF No. 1); and

        The Court having granted, in part, the Motion for Summary Judgment filed

by plaintiff Daniel Rivera on March 23,2018 (ECF No. 104) in the amount of

$6,593,495.00 (ECF No. 120); and

        Plaintiff having subsequently withdrawn his request for future economic

damages related to potential surgical interventions (ECF No. 122); and

        The parties having agreed on the quantum of plaintiffs past economic

damages already incurred in the amount of $230,63l.44by Stipulation dated

August 9, 2018 (ECF No. 143 at 5); and

        The issues of past and future pain and suffering having come on for trial, and

a   jury having returned   a   verdict on April 11, 2018 on behalf of the plaintiff in the
 Case 1:16-cv-07552-JGK-OTW Document 174 Filed 06/04/18 Page 12 of 37
       Case 1:16-cv-07552-KBF Document 151 Filed 05/04/18 Page 2 ot 2




aggregate amount of $1,845,000 ($135,000 of which is attributable to past pain and

suffering) (ECF No. 136), it is hereby

         ORDERED, ADJUDGED, AND DECREED that plaintiff shall have

judgment against defendant/third-party plaintiff Home Depot U.S.A., Inc. in

accordance with the Court's prior rulings and in the following amounts:

             1. Economic Damages     (past)              $230,63I.44

             2.   Economic Damages   (future)            $6,593,495.00

             3. Pain and suffering (past)                $135,000.00

             4. Pain and suffering (future)       -      $1,710,000.00

         The parties retain all rights to appeal the Court's prior rulings existing as of

this date.

         SO ORDERED.

Dated:            New York, New York
                  May 4, 2018                         16,* rE.w
                                                      KATHERINE B. FORREST
                                                      United States District Judge




                                              2
Case 1:16-cv-07552-JGK-OTW Document 174 Filed 06/04/18 Page 13 of 37




               trXHIBIT B
     CaseCase
         1:16-cv-07552-JGK-OTW   Document152
              l-:16-cv-07552-KBF Document      Filed05/04/18
                                          174 Filed  06/04/18 Page   at of
                                                              Page1"14  2 37



                                                          USDC SDNY
UNITED STATES DISTRICT COURT                              DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                             ELECTRONICALLY FILED
                                                      X   DOC #:
    DANIEL RIVERA,                                        DATE FILED: May 4,2018
                                         Plaintiff,

                        -v

    HOME DEPOT U.S.A. INC.,                                       L6-cv-7552 (KBF)
       Defendant and Third-Party Plaintiff,
                                                                    JUDGMENT

                        -v-

    BRYAN'S HOME IMPROVEMENT CORP.,
                   Third-Party Defendant.
                                                      X
KATHERINE B. FORREST, District Judge:

         This action having been commenced September 27, 20L6 by the filing of the

Complaint (ECF No. 1); and

         The Court having granted, in part, the Motion for Summary Judgment filed

by plaintiff Daniel Rivera on March 23, 2078 (ECF No. 104) in the amount of

$6,593,495.00 (ECF No. 120); and

         Plaintiff having subsequently withdrawn his request for future economic

damages related to potential surgical interventions (ECF No. 122); and

         The parties having agreed on the quantum of plaintiff s past economic

damages already incurred in the amount of $230,63L.44by Stipulation dated

August 9, 201,8 (ECF No.      1"43   at 5); and

        The issues of past and future pain and suffering having come on for trial, and

a   jury having returned a verdict on April IL, 2018 on behalf of the plaintiff in the

aggregate amount of $1,845,000 ($135,000 of which is attributable to past pain and

suffering) (ECF No. 136); and
    Casecase
         1:16-cv-07552-JGK-OTW  Document1s2
              1:16-cv-07552-KBF Document 174 Filed  06/04/18 page
                                              Filed05/04/i.B  Page215
                                                                    ot of
                                                                       2 37




         The Court, simultaneous to entry of this Judgment, having entered judgment

in favor of plaintiff and against defendant/third-party plaintiff Home Depot U.S.A.,

Inc. in accordance with the Court's prior rulings and in the following amounts:

             1-. Economic Damages    (past)              9290,G81.44

             2.   Economic Damages   (future)            g6,bgg,4gb.00

             3. Pain and suffering (past)                918b,000.00

             4, Pain and suffering (future)              91,710,000.00; and

         The Court having granted defendant/third-party plaintiff Home Depot

U.S.A., Inc.'s motion for summary judgment on its contractual and common law

indemnification claims as against third-party defendant Bryan's Home

Improvement Corp. prior to trial (ECF No. 75), it is hereby

         ORDERED, ADJUDGED, AND DECREED that defendant/third-party

plaintiff Home Depot U.S.A., Inc. shall have judgment against third-party

defendant Bryan's Home Improvement Corp. in accordance with the Court's prior

rulings and in the amount of $8,669,126.44 plus allowable interests and costs.

         The parties retain all rights to appeal the Court's prior rulings existing as of

this date.

         SO ORDERED.

Dated:            New York, New York
                  May 4,20L8                     tfu         rg
                                                    KATHERINE B. FORREST
                                                    United States District Judge



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            Case 1:16-cv-07552-JGK-OTW Document 174 Filed 06/04/18 Page 16 of 37
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           Case 1:16-cv-07552-JGK-OTW Document 174 Filed 06/04/18 Page 17 of 37


AO   133   (Rev. 12109) Bill of Costs


                                              UNrrBp SrarBs Dtsrrucr CoURT
                                                                                    for the
                                                                  Southern District of New York

                           DANIEL RIVERA                                              )
                                                                                      )
                                                                                      )       CaseNo.: 16 CV 7552
     HOME DEPOT U.S.A., lNC, v. BRYAN'S HOME                                          )
             IMPROVEMENT CORP.                                                        )

                                                                          BILL OF COSTS
Judgment having been entered in the above entitled action on                              0510412018             against       Bryan 's Home lmovt Coro.
                                                                                              Date
the Clerk is requested to tax the following as costs:

Fees   of the Clerk    .                                                                                                                   $

Fees   for service ofsummons and subpoena

Fees   for printed or electronically recorded transcripts necessarily obtained for use in the case . . . . . .                                          2,868.63

                                                                                                                                                           1,108.44
Fees and disbursements        for printing
                                                                                                                                                               0.00
Fees for witnesses (itemize       on   page   rwo) .   ,



Fees for exemplification and the costs of making copies of any materials where the copies are
                                                                                                                                                            105.00
necessarily obtained for use in the case.
                                                                                                                                                              20.00
Docket fees under 28 U.S.C. 1923 .                .



Costs as shown on Mandate of Court of Appeals

Compensation of court-appointed experts

Compensation of interpreters and costs of special interpretation services under 28 U.S.C. 1828 . . . .                          .

                                                                                                                                                        3,671.34
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                                                                                                                                           {               7,773.41

SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categories.

                                                                                 Declaration
                                                            costs are correct and were necessarily incurred in this action and that the
           I declare under penalty ofperjury that the foregoing
services for which fees have bien iharged were actually and necessarily performed. A copy ofthis bill has been served on all parties
in the following manner:

       n         Electronic   service                               tr      First class mail, postage prepaid

                 Other:

           s/ Attorney

                      Name of Attorney           ; Arturo M. Boutin
For:                                                  Home            U.S.A.. lnc.                                              Date:          0610412018
                                                           Name of Claiming ParEt


                                                                           Taxation of Costs
Costs are taxed in the amount            of                                                                                         and included in the judgment.

                                                                           By:
                                                                                                  Deputy Clerk                                      Date
                       Clerk ofCourt
Case 1:16-cv-07552-JGK-OTW Document 174 Filed 06/04/18 Page 18 of 37




               EXHIBIT D
          Case 1:16-cv-07552-JGK-OTW Document 174 Filed 06/04/18 Page 19 of 37

AO 133 (Rev. l2l09) Bill of Costs


                                       UNTTBp STETBS DTSTruCT COURT
                                      Witness Fees (computation, cf. 28 U.S.C. 1821 for statutory fees)

                                                                     ATTENDANCE          SUBSISTENCE            MILEAGE
                                                                                                                                      Total Cost
           NAME, CITY AND STATE OF RESIDENCE                                   Total               Total                 Total       Each Witness
                                                                     Davs      Cost      Davs      Cost       Miles      Cost


                                                                                                                                              $0.00



                                                                                                                                              $0.00



                                                                                                                                              $0.00



                                                                                                                                              $0.00



                                                                                                                                              $0.00



                                                                                                                                              $0.00


                                                                                                                      TOTAL                   $0.00


                                                                      NOTICE

  Section l924,Title28,U.S. Code (effective September 1' 1948) provides:
  "Sec. 1924. Verification of bill of costs."
       "Before any bill ofcosts is taxed, the party claiming any item ofcost or disbursement shall attach thereto an affidavit, made by himselfor by
  his duly authorized attomey or ageni having i<nowledgi ofthe facts, that such item is correct and has been necessarily incurred in the case and
  that the services for which fees have been charged were actually and necessarily performed."

  See atso Section 1920 of    Title 28, which reads in part as follows:
      "A bill ofcosts shall   be filed in the case and, upon allowance, included in thejudgment or decree."

  The Federal Rules of Civil Procedure contain the following provisions:
  RULE s4(dxl)
  Costs Other than Attomeys' Fees.
     Unless a federal statute, these rules, or a court order provides otherwise, costs       other than attomey's fees    should be allowed to the
                                                                                        -                               -
  prevailing party. But costs against the United States, its ofirgers, and its agencies may be imposedonly to the extent allowed by law. The clerk
  may tax ioits on 14 day's notice, On motion served within the next 7 days, the court may review the clerk's action.

  RULE 6
  (d) Additional Time After Certain Kinds of Service.

       When a party may or must act within a specified time after service and service is made under Rule5(b)(2XC), (D), (E)' or (F), 3 days are
  added after the period would otherwise expire under Rule 6(a).

  RULE 58(e)
  Cost or Fee Awards:

       Ordinarily, the entry ofjudgment may not be delayed, nor the time for appeal extended, in order to tax costs or award fees. But if a
  timely motion for attomey's fees-is made under Rule 54@)Q), tle c,oyrt_mal act be.fore a notice of appgl has been filed and become
  effeciive to order that the motion have the same effect under Federal Rule of Appellate Procedure 4(a)(4) as a timely motion under Rule 59.
           Case 1:16-cv-07552-JGK-OTW Document 174 Filed 06/04/18 Page 20 of 37




                           Deitz Court         Reporting          Jay Deitz &
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               D'AMATO AND LYNCH, LLP
               Attn: HENRY C, DIEUDONNE, JR. ESe                                                  D
               225 LIBERW STREET
               3OTH FLOOR                                                                                                    -*r..
               NEW YORK, NY '10281-2600



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           Case 1:16-cv-07552-JGK-OTW Document 174 Filed 06/04/18 Page 21 of 37




                           Deitz Court         Reporting       Jay Deitz & Associates
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                                            Main: E00-678.0166 Fax:51G67E-4488
               Bill To:                                                                       tl
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               Attn: HENRY C, DIEUDONNE, JR. ESQ,                                                     ocT r 0 201?
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                           RICHARD LECHTENBERG, M.D.
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